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11
                               UNITED STATES DISTRICT COURT
12
                              CENTRAL DISTRICT OF CALIFORNIA
13
                                     WESTERN DISTRICT
14
                                                  No. CV 20-02679 MCS (Ex)
15
     EBONY BALLARD,                               DEFENDANT’S MOTION IN LIMINE
16                                                NO. 2 TO EXCLUDE TESTIMONY
                 Plaintiff,                       REGARDING OTHER EEO
17                                                COMPLAINTS AND IMPROPER LAY
                        v.                        PERSON OPINION
18
   LOUIS DEJOY, Postmaster                        Pretrial Conf:    May 24, 2021
19 General of the United States Postal Service,   Time:             2:00 p.m.
                                                  Trial:            June 15, 2021
20                                                Ctrm:             United States Courthouse
                                                                    350 W. First Street
21               Defendant.                                         Courtroom 7C, 7th Floor
                                                                    Los Angeles, CA 90012
22
                                                  Hon. Mark C. Scarsi
23                                                United States District Judge
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1                 NOTICE OF MOTION AND MOTION IN LIMINE NO. 2
2          PLEASE TAKE NOTICE that on May 24, 2021, at 2:00 p.m., or as soon
3    thereafter as it may be heard, defendant Louis DeJoy, Postmaster General for the United
4    States Postal Service (“USPS”), will, and hereby does, move this Court for an order (i)
5    excluding any testimony or evidence of other EEO complaints filed by Plaintiff’s co-
6    workers and (ii) excluding any improper lay witness testimony from using the term
7    “retaliation.” This motion will be made in the First Street Federal Courthouse before the
8    Honorable Mark C. Scarsi, United States District Judge, located at 350 W. 1st Street, Los
9    Angeles, CA 90012, Courtroom 7C, 7th Floor.
10         Defendant brings this motion on the ground that testimony as to EEO complaints
11   brought by Plaintiff’s co-workers is irrelevant and inadmissible in violation of Federal
12   Rules of Evidence 403 and 404. Lay witnesses improperly using the term “retaliation”
13   may confuse the jury in violation of Federal Rules of Evidence 403 and 701.
14         This Motion is based on this Notice of Motion and Motion, the attached
15   Memorandum of Points and Authorities, the files and records in this case, and such other
16   evidence or argument as the Court may consider. This Motion is made following the
17   conference of counsel pursuant to Local Rule 16-2 meeting of counsel and this Court’s
18   Scheduling Order, which was held on April 26, 2021.
19    Dated: May 3. 2021                    TRACY L. WILKISON
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                                            Assistant United States Attorney
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24                                          /s/ Fatimargentina Lacayo
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                                            Attorneys for Defendant, Louis DeJoy
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1                    MEMORANDUM OF POINTS AND AUTHORITIES
2    I.    INTRODUCTION
3          Defendant anticipates that Plaintiff will attempt to present evidence at trial about
4    EEO proceedings (not involving Plaintiff) at USPS involving different claimants,
5    different time periods, and different adverse actions under the guise of “me too”
6    evidence. Plaintiff should be barred from using such evidence in support of her claims
7    since the evidence is irrelevant to the issues in this case, would require multiple “mini-
8    trials,” and has a high probability of confusing the jury and unfairly prejudicing
9    Defendant.
10         In addition, Plaintiff should be barred from eliciting improper lay opinion from his
11   trial witnesses that are couched as legal conclusions. Thus, any testimony from witnesses
12   labelling actions from supervisors as “retaliatory” or “retaliation” should be excluded.
13   II.   ARGUMENT
14         A.     Allegations of Discrimination by Other USPS Employees Should Be
15                Excluded
16         Evidence of other EEO complaints or grievances by Plaintiff’s co-workers has no
17   bearing on the alleged instances of unlawful discrimination in this case and should be
18   excluded from the trial. Such evidence simply invites an emotional response from the
19   jury and encourages improper “propensity” reasoning. See United States v. Fagan, 996
20   F.2d 1009, 1015 (9th Cir. 1993) (evidence is unfairly prejudicial if it “affect[s] adversely
21   the jury’s attitude toward the defendant wholly apart from its judgment as to”
22   defendant’s liability); see also Fed. R. Evid. 404(a) (prohibiting evidence of prior bad
23   acts offered to show conduct in conformity therewith).
24         Also, jury confusion and unfair prejudice to Defendant would be unavoidable. The
25   Ninth Circuit found that the inherent risk of jury confusion from a parade of employee
26   witnesses claiming discrimination cannot be cured “even [by] the strongest jury
27   instructions,” and that “mini trials” on the claims of such witnesses may amount to “an
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1    inefficient allocation of trial time.” See Coleman v. Quaker Oats Co., 232 F.3d 1271,
2    1296 (9th Cir. 2000). The Ninth Circuit further noted that a trial court could reasonably
3    conclude that such evidence may “create a significant danger that the jury would base its
4    assessment of liability on remote events involving other employees, instead of recent
5    events concerning Plaintiffs.” Tennison v. Circus Circus Enterpris., Inc., 244 F.3d 684,
6    690 (9th Cir. 2001).
7          To protect against the danger of “mini trials” on other employees’ claims of
8    discrimination, which would distract the jury from issues in this case, greatly prejudice
9    Defendant through impermissible character-type evidence, and unnecessarily lengthen
10   the trial, any testimony regarding co-worker EEO complaints or grievances should be
11   excluded from trial.
12         B.     Statements from Witnesses That Supervisors’ Actions were
13                “Retaliatory” or “Retaliation” Should Be Excluded
14         Statements from trial witnesses that label the actions of supervisors as
15   “retaliatory” or as constituting “retaliation” are improper lay opinion, which should not
16   be elicited by either party. Pursuant to Rule 701 of the Federal Rules of Evidence, lay
17   opinion is limited to that which is:
18         (i) rationally based on the witness’s perception;
19         (ii) helpful to clearly understanding the witness’s testimony or to
20         determining a fact in issue; and
21         (iii) not based on scientific, technical, or other specialized knowledge
22         within the scope of Rule 702.
23         “Opinion testimony in the form of a legal conclusion is impermissible because it
24   tends to convey the witness’s unexpressed and perhaps erroneous legal standards to the
25   jury.” Torres v. County of Oakland, 758 F.2d 147, 150 (9th Cir. 1985). Exclusion is
26   required if “the terms used by the witness have a separate, distinct and specialized
27   meaning in the law different from that present in the vernacular.” Id. at 151.
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1           In this case, the legal term of art “retaliation” has a very specific meaning as
2    defined in the case law. Use of this term by a lay witness has the high likelihood of
3    providing overly influential and prejudicial testimony to the jury. See Torres, 758 F.2d at
4    150. (“The problem with testimony containing a legal conclusion is in conveying the
5    witness’ unexpressed, and perhaps erroneous, legal standards to the jury.”). Thus, to the
6    extent that Plaintiff’s counsel attempts to elicit testimony from trial witnesses labelling
7    the actions of USPS supervisors as “retaliatory” or as “retaliation,” these efforts should
8    be explicitly prohibited.
9    III.   CONCLUSION
10          For the foregoing reasons, Defendant respectfully requests that the Court enter an
11   order (i) excluding any testimony or evidence of other EEO complaints or grievances
12   filed by Plaintiff’s co-workers and (ii) excluding any improper lay witness testimony
13   labelling the actions of supervisors taken by USPS as “retaliatory” or as “retaliation.”
14    Dated: May 3. 2021                     TRACY L. WILKISON
                                             Acting United States Attorney
15                                           DAVID M. HARRIS
                                             Assistant United States Attorney
16                                           Chief, Civil Division
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